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EASTERN DIVISIoN ` _ \_ g `

PAUL PRICE, JIJDGMENT IN A CIVIL CA§E

Plaimirf,
V.
CORRECTIONS CORPORATION CASE N0: 1:03-1228-13
OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on July S, 2005, this cause is hereby dismissed With prejudice.

 

   
  

TED sTATES DISTRICT COURT
C. 19 »< THoMAs M. acute
Clerk of Court

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(By) Deputy Clerk

This document entered on the docket sheet in compiiance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:03-CV-01228 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

